   Case 2:22-cv-14102-DMM Document 178 Entered on FLSD Docket 06/21/2022 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                   Southern District
                                                 __________ Districtof
                                                                     ofFlorida
                                                                        __________

        DONALD J. TRUMP, 45th PRESIDENT                              )
            OF THE UNITED STATES                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                         Civil Action No. 2:22-cv-14102-DMM
                                                                     )
               HILLARY R. CLINTON, et al.,                           )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) ADAM SCHIFF
                                       777 S Figueroa Street, Suite 4050
                                       Los Angeles, California 90017-5864




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Peter Ticktin, Esquire
                                       The Ticktin Law Group
                                       270 SW Natura Avenue
                                       Deerfield Beach, Florida 33441


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:
                                                                                       Signature of Clerk or Deputy Clerk

                                                 Select Courthouse
